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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                  )
 AMERICAN FEDERATION OF                           )
 TEACHERS,                                        )
                                                  )
                  Plaintiff,                      )     Civil Action No. 25-802 (RBW)
                                                  )
           v.                                     )
                                                  )
 UNITED STATES DEPARTMENT OF                      )
 EDUCATION, et al.,                               )
                                                  )
                  Defendants.                     )
                                                  )

                                               ORDER

          Upon consideration of the parties’ Joint Status Report, ECF No. 26, it is hereby

          ORDERED that the Plaintiff’s Motion for a Temporary Restraining Order or Preliminary

Injunction, ECF No. 10, is DENIED WITHOUT PREJUDICE. It is further

          ORDERED that the motion hearing on the plaintiff’s motion for a temporary restraining

order or preliminary injunction currently scheduled for April 17, 2025, at 10:30 a.m., is

VACATED. It is further

          ORDERED that on April 17, 2025, at 1:30 p.m., the parties shall appear for a status

conference, via teleconference, to address the dispute between the parties regarding defendants’

forthcoming notice on the processing of income-driven student loan repayment applications. It is

further

          ORDERED that the Defendant’s Motion to Reset Hearing Time, ECF No. 27, is

DENIED AS MOOT.
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SO ORDERED this 14th day of April, 2025.


                                            REGGIE B. WALTON
                                            United States District Judge




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